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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

SECURITIES AND EXCHANGE COMMISSION                           §
Plaintiff,                                                   §
                                                             §
                                                             §
                                                             §
v.                                                           §    Civil Action No. 4:11-cv-655
                                                             §
                                                             §
JAMES G. TEMME, and                                          §
STEWARDSHIP FUND, LP,                                        §
Defendants.                                                  §

     ORDER GRANTING RECEIVER’S FIFTH INTERIM APPLICATION TO ALLOW
     AND PAY (1) RECEIVER’S FEES AND EXPENSES; AND (2) ATTORNEYS’ FEES
                               AND EXPENSES

        CAME ON FOR CONSIDERATION the Receiver’s Fifth Interim Application to Allow

and Pay (1) Receiver’s Fees and Expenses; and (2) Attorneys’ Fees and Expenses (the

“Application”), which requests reimbursement for fees incurred for the time period from

January 1, 2014 through June 30, 2014. The Receiver seeks to pay Bryan Cave LLP (“BC”)

$138,704.49, representing $135,723.20 in interim fees (80% of $169,654.00 in fees) and

$2,972.29 in interim expenses (100% of $2,972.29 in expenses).

        No opposition has been filed to this Application. Counsel for the Commission has

reviewed the fee application and been afforded the opportunity to object, but does not object to

the relief sought. Based upon a review of the Application and the pleadings on file, the Court

finds and concludes that (a) the relief requested in the Application is in the best interests of the

Receiver and his receivership estates; (b) proper and adequate notice of the Application has been

given and that no other or further notice is necessary; and (c) good and sufficient cause exists for

the granting of the relief requested in the Application after having given due deliberation upon
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    the Application and all of the proceedings had before the Court in connection with the

    Application. Therefore, it is hereby ORDERED that:

           i.     The Application is GRANTED.

           ii.    The Court approves, on an interim basis, the fees ($135,723.20) and expenses

    ($2,972.29) incurred by the Receiver from January 1, 2014 through June 30, 2014.

.          iii.   The Receiver is authorized to immediately pay BC the total sum of $138,704.49

                  representing $135,723.20 in interim fees (80% of $169,654.00 in fees) and

                  $2,972.29 in interim expenses (100% of $2,972.29 in expenses) for the time

                  period from January 1, 2014 through June 30, 2014

           SIGNED this 8th day of January, 2015.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE




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